   Case: 1:23-cv-01501 Document #: 46 Filed: 07/03/23 Page 1 of 18 PageID #:1439




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 SPIN MASTER LTD., A CANADIAN
 CORPORATION, AND SPIN MASTER
 TOYS UK LIMITED, A UNITED
 KINGDOM CORPORATION,

                          Plaintiffs,                      Civil Action No. 1:23-cv-01501

                   v.                                        Judge: Hon. John F. Kness

 THE PARTNERSHIPS AND
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED ON SCHEDULE “A”,

                          Defendant.


                                      ANSWER TO COMPLAINT

       Defendants Salmue, Eunvabir, LWG shop, and partyfun (collectively, “Defendants”)

hereby file this Answer to Plaintiff SPIN MASTER LTD., a Canadian corporation, and SPIN

MASTER TOYS UK LIMITED, a United Kingdom corporation’s (“Plaintiffs”) Complaint (Dkt.

No. 1) and responds as follows:

                                 I.     JURISDICTION AND VENUE

       1.         Defendants admit that in this action Plaintiffs attempt to assert claims under the

Lanham Act, 15 U.S.C. §1051 et seq.; 28 U.S.C. §1338(a) - (b) and 28 U.S.C. §1331, that this

Court has subject matter jurisdiction over such claims. Defendants deny the substance of the

alleged claims.

       2.         Defendants deny the allegations of this Paragraph to the extent they are directed

towards Defendants. Defendants lack sufficient knowledge or information to form a belief about

the truth of any allegations in this paragraph directed against other entities, and so deny them.



                                                  1
   Case: 1:23-cv-01501 Document #: 46 Filed: 07/03/23 Page 2 of 18 PageID #:1440




                                     II.      INTRODUCTION

       3.      Defendants admit that this action has been filed by Plaintiff against e-commerce

store operators. Except as so admitted, the remaining allegations in paragraph 3 are denied.

Defendants deny the substance of the alleged claims.

                                       III.    THE PARTIES

Plaintiffs

       4.      Defendants lack sufficient knowledge or information to form a belief as to the

truth of these allegations and therefore deny the allegations in paragraph 4.

       5.      Defendants lack sufficient knowledge or information to form a belief as to the

truth of these allegations and therefore deny the allegations in paragraph 5.

       6.      Defendants lack sufficient knowledge or information to form a belief as to the

truth of these allegations and therefore deny the allegations in paragraph 6.

       7.      Defendants lack sufficient knowledge or information to form a belief as to the

truth of these allegations and therefore deny the allegations in paragraph 7.

       8.      Defendants lack sufficient knowledge or information to form a belief as to the

truth of these allegations and therefore deny the allegations in paragraph 8.

       9.      Defendants lack sufficient knowledge or information to form a belief as to the

truth of these allegations and therefore deny the allegations in paragraph 9.

       10.     Defendants lack sufficient knowledge or information to form a belief as to the

truth of these allegations and therefore deny the allegations in paragraph 10.

       11.     Defendants lack sufficient knowledge or information to form a belief as to the

truth of these allegations and therefore deny the allegations in paragraph 11.




                                                 2
   Case: 1:23-cv-01501 Document #: 46 Filed: 07/03/23 Page 3 of 18 PageID #:1441




       12.     Plaintiff admits that Exhibit 1 of Plaintiff’s Complaint appears to include two

trademark registration information for Reg. No. 1,242,974 and Reg. No. 1,265,094. However,

Defendants are without knowledge or information sufficient to form a belief as to the truth and

authenticity of the Exhibit 1, therefore deny them. Defendants lack sufficient knowledge or

information to form a belief as to the truth of the rest of the allegations and therefore deny them.

       13.     Defendants lack sufficient knowledge or information to form a belief as to the

truth of these allegations and therefore deny the allegations in paragraph 13.

       14.     Defendants lack sufficient knowledge or information to form a belief as to the

truth of these allegations and therefore deny the allegations in paragraph 14.

       15.     Defendants lack sufficient knowledge or information to form a belief as to the

truth of these allegations and therefore deny the allegations in paragraph 15.

       16.     Defendants lack sufficient knowledge or information to form a belief as to the

truth of these allegations and therefore deny the allegations in paragraph 16.

       17.     Defendants lack sufficient knowledge or information to form a belief as to the

truth of these allegations and therefore deny the allegations in paragraph 17.

The Defendants

       18.     Defendants deny the allegations of this Paragraph to the extent they are directed

towards Defendants. Defendants lack sufficient knowledge or information to form a belief about

the truth of any allegations in this paragraph directed against other entities, and so deny them.

       19.     Defendants deny the allegations of this Paragraph to the extent they are directed

towards Defendants. Defendants lack sufficient knowledge or information to form a belief about

the truth of any allegations in this paragraph directed against other entities, and so deny them.

                 IV.    DEFENDANTS’ [ALLEGED] UNLAWFUL CONDUCT



                                                 3
   Case: 1:23-cv-01501 Document #: 46 Filed: 07/03/23 Page 4 of 18 PageID #:1442




        20.    Defendants deny the allegations of this Paragraph to the extent they are directed

towards Defendants. Defendants lack sufficient knowledge or information to form a belief about

the truth of any allegations in this paragraph directed against other entities, and so deny them.

        21.    Defendants deny the allegations of this Paragraph to the extent they are directed

towards Defendants, if any. Defendants lack sufficient knowledge or information to form a belief

about the truth of any allegations in this paragraph directed against other entities, and so deny

them.

        22.    Defendants deny the allegations of this Paragraph to the extent they are directed

towards Defendants. Defendants lack sufficient knowledge or information to form a belief about

the truth of any allegations in this paragraph directed against other entities, and so deny them.

        23.    Defendants deny the allegations of this Paragraph to the extent they are directed

towards Defendants. Defendants lack sufficient knowledge or information to form a belief about

the truth of any allegations in this paragraph directed against other entities, and so deny them.

        24.    Defendants deny the allegations of this Paragraph to the extent they are directed

towards Defendants. Defendants lack sufficient knowledge or information to form a belief about

the truth of any allegations in this paragraph directed against other entities, and so deny them.

        25.    Defendants deny the allegations of this Paragraph to the extent they are directed

towards Defendants. Defendants lack sufficient knowledge or information to form a belief about

the truth of any allegations in this paragraph directed against other entities, and so deny them.

        26.    Defendants deny the allegations of this Paragraph to the extent they are directed

towards Defendants. Defendants lack sufficient knowledge or information to form a belief about

the truth of any allegations in this paragraph directed against other entities, and so deny them.




                                                 4
   Case: 1:23-cv-01501 Document #: 46 Filed: 07/03/23 Page 5 of 18 PageID #:1443




       27.      Defendants deny the allegations of this Paragraph to the extent they are directed

towards Defendants. Defendants lack sufficient knowledge or information to form a belief about

the truth of any allegations in this paragraph directed against other entities, and so deny them.

       28.      Defendants deny the allegations of this Paragraph to the extent they are directed

towards Defendants. Defendants lack sufficient knowledge or information to form a belief about

the truth of any allegations in this paragraph directed against other entities, and so deny them.

       29.      Defendants deny the allegations of this Paragraph to the extent they are directed

towards Defendants. Defendants lack sufficient knowledge or information to form a belief about

the truth of any allegations in this paragraph directed against other entities, and so deny them.

       30.      Defendants deny the allegations of this Paragraph to the extent they are directed

towards Defendants. Defendants lack sufficient knowledge or information to form a belief about

the truth of any allegations in this paragraph directed against other entities, and so deny them.

       31.      Defendants deny the allegations of this Paragraph to the extent they are directed

towards Defendants. Defendants lack sufficient knowledge or information to form a belief about

the truth of any allegations in this paragraph directed against other entities, and so deny them.

                           COUNT ONE
 [ALLEGED] FEDERAL TRADEMARK COUNTERFEITING AND INFRINGEMENT
                         (15 U.S.C. §1114)

       32.      Defendants incorporate by reference the foregoing responses above as if fully set

forth herein.

       33.      Defendants admit that this action has been filed by Plaintiff against e-commerce

store operators. Except as so admitted, the remaining allegations in paragraph 33 are denied.

Defendants deny the substance of the alleged claims.




                                                 5
   Case: 1:23-cv-01501 Document #: 46 Filed: 07/03/23 Page 6 of 18 PageID #:1444




       34.      Defendants deny the allegations of this Paragraph to the extent they are directed

towards Defendants. Defendants lack sufficient knowledge or information to form a belief about

the truth of any allegations in this paragraph directed against other entities, and so deny them.

       35.      Defendants deny the allegations of this Paragraph to the extent they are directed

towards Defendants. Defendants lack sufficient knowledge or information to form a belief about

the truth of any allegations in this paragraph directed against other entities, and so deny them.

       36.      Defendants deny the allegations of this Paragraph to the extent they are directed

towards Defendants. Defendants lack sufficient knowledge or information to form a belief about

the truth of any allegations in this paragraph directed against other entities, and so deny them.

       37.      Denied.

       38.      Denied.

                                    COUNT TWO
                      [ALLEGED] FALSE DESIGNATION OF ORIGIN
                                 (15 U.S.C. §1125(a))

       39.      Defendants incorporate by reference the foregoing responses above as if fully set

forth herein.

       40.      Defendants deny the allegations of this Paragraph to the extent they are directed

towards Defendants. Defendants lack sufficient knowledge or information to form a belief about

the truth of any allegations in this paragraph directed against other entities, and so deny them.

       41.      Defendants deny the allegations of this Paragraph to the extent they are directed

towards Defendants. Defendants lack sufficient knowledge or information to form a belief about

the truth of any allegations in this paragraph directed against other entities, and so deny them.




                                                 6
   Case: 1:23-cv-01501 Document #: 46 Filed: 07/03/23 Page 7 of 18 PageID #:1445




       42.     Defendants deny the allegations of this Paragraph to the extent they are directed

towards Defendants. Defendants lack sufficient knowledge or information to form a belief about

the truth of any allegations in this paragraph directed against other entities, and so deny them.

       43.     Denied.

                                         Prayer for Relief

       Defendants deny Plaintiffs’ prayer for relief (including its Paragraphs 1-6) in its entirety.

Plaintiffs are not entitled to any of the relief requested in the Complaint.

                                  AFFIRMATIVE DEFENSES

       By way of further Answer and as Affirmative Defenses, Defendants deny that they are

liable to Plaintiff on any of the claims alleged and denies that Plaintiffs are entitled to damages,

treble or punitive, equitable relief, attorneys’ fees, costs, pre-judgement interest, or to any relief

whatsoever, and states as follows:

                                FIRST AFFIRMATIVE DEFENSE
                                    (Failure to State a Claim)

       1.      The Complaint, on one or more claims set forth therein, fails to state a claim upon

which relief can be granted.

                               SECOND AFFIRMATIVE DEFENSE
                                         (Laches)

       2.      Plaintiffs’ claims are barred by laches, as Plaintiffs have unreasonably delayed

enforcement efforts, if any, despite its full awareness of Defendants’ actions.

                                THIRD AFFIRMATIVE DEFENSE
                               (Waiver, Acquiescence, and Estoppel)

       3.      Each of the purported claims set forth in the Complaint is barred by the doctrines

of waiver, acquiescence, and estoppel.



                                                  7
   Case: 1:23-cv-01501 Document #: 46 Filed: 07/03/23 Page 8 of 18 PageID #:1446




                              FOURTH AFFIRMATIVE DEFENSE
                                    (Non-Infringement)

        4.      Defendants have not infringed any applicable trademarks, or similar rights (if any)

under either the applicable federal or state laws.

                                FIFTH AFFIRMATIVE DEFENSE
                                      (Actions of Others)

        5.      The claims set forth in the Complaint are barred, in whole or in part, because

Defendants are not liable for the acts of others over whom it has no control.

                                SIXTH AFFIRMATIVE DEFENSE
                                          (Fair Use)

        6.      The trademark infringement claims set forth in the Complaint are barred, in whole

or in part, by the doctrine of fair use.

                                    ADDITIONAL DEFENSES

        Defendants reserve the right to assert additional affirmative defenses based on information

learned or obtained during discovery.

                                           COUNTERCLAIMS
        Pursuant to Rule 13 of the Federal Rules of Civil Procedure, Defendants/Counterclaim

Plaintiffs file these Counterclaims against Plaintiffs/Counterclaim Defendants SPIN MASTER

LTD., a Canadian corporation, and SPIN MASTER TOYS UK LIMITED, a United Kingdom

corporation (“Spin Master”) and allege as follows:

                                           INTRODUCTION
        1.      Counterclaim Plaintiffs seek a declaratory judgment of trademark invalidity and

non-infringement as to the following asserted trademarks: (1) Reg. No. 1,242,974 (“’974 Mark”);

and (2) Reg. No. 1,265,094(“’094 Mark”) (collectively, “Trademarks”).

                                              PARTIES


                                                     8
   Case: 1:23-cv-01501 Document #: 46 Filed: 07/03/23 Page 9 of 18 PageID #:1447




       2.      Counterclaim Plaintiffs are Amazon storefronts.

       3.      Upon information and belief, Counterclaim Defendant Spin Master Ltd. is a

Canadian corporation with its principal place of business at 225 King Street West, Toronto,

Ontario, Canada; Counterclaim Defendant Spin Master Toys UK Limited is a United Kingdom

corporation with an address of Secure Trust House Boston Drive, Bourne End Buckinghamshire

United Kingdom.

                                 JURISDICTION AND VENUE

       4.      This Court has original jurisdiction over this action pursuant to 28 U.S.C. §§1331

and 1338. Further, these counterclaims arise under the Declaratory Judgment Act, 28 U.S.C. §

2201 et seq.

       5.      An actual, substantial, and continuing justiciable controversy exists between

Counterclaim Plaintiffs and Spin Master as to the validity and non-infringement of the

Trademarks.

       6.      This Court has personal jurisdiction over Spin Master due to at least the filing of

their Complaint here, thereby consenting to personal jurisdiction in this district.

       7.      Venue is proper in this Court for adjudicating Counterclaim Plaintiffs’

counterclaims against Counterclaim Defendants pursuant to 28 U.S.C. §1400.

COUNTERCLAIM I – DECLARATORY JUDGMENT OF TRADEMARK INVALIDITY
                         (“’974 MARK”)

       8.      Counterclaim Plaintiffs incorporate by reference the allegations set forth in the

preceding paragraphs.

       9.      The asserted Trademarks are invalid due to their generic nature. Specifically, 15

U.S. Code §1064 sets forth that “A petition to cancel a registration of a mark … may … be filed

[a]t any time if the registered mark becomes the generic name for the goods or services, ….”

                                                  9
  Case: 1:23-cv-01501 Document #: 46 Filed: 07/03/23 Page 10 of 18 PageID #:1448




       10.    The ’974 Mark is for the standard characters “RUBIK’S CUBE,” which the

“CUBE” part has been disclaimed. Dkt. No. 1-1.

       11.    A search on Amazon.com for “Rubik’s Cube” reveals numerous puzzle cubes for

sale consisting of a cube with smaller internal cube shapes that can twist and turn with matching

color patches as Spin Master’s products, including:

        URL                Product Picture

        https://www.am

        azon.com/Jurnw

        ey-Speed-

        3x3x3-

        Stickerless-

        Tutorial/dp/B08

        81PCPDZ/ref=s

        r_1_2_sspa?crid

        =3QEP0D7D4Y

        RVT&keywords

        =Rubik%E2%8

        0%99s+Cube&q

        id=1688152555

        &sprefix=rubik

        +s+cube%2Cap

        s%2C170&sr=8

        -2-



                                               10
Case: 1:23-cv-01501 Document #: 46 Filed: 07/03/23 Page 11 of 18 PageID #:1449




     spons&sp_csd=

     d2lkZ2V0TmFt

     ZT1zcF9hdGY

     &psc=1

     https://www.am

     azon.com/INTE

     GEAR-

     Stickerless-

     Turning-

     Smooth-

     Durable/dp/B09

     WKQKZ8B/ref

     =sr_1_28?crid=

     3QEP0D7D4Y

     RVT&keywords

     =Rubik%E2%8

     0%99s+Cube&q

     id=1688152555

     &sprefix=rubik

     +s+cube%2Cap

     s%2C170&sr=8

     -28




                                     11
  Case: 1:23-cv-01501 Document #: 46 Filed: 07/03/23 Page 12 of 18 PageID #:1450




       12.     The introduction of numerous competing cube products into the market in the past

several decades has caused the ’974 Mark Trademark to (a) become the generic designation for

puzzle cubes consisting of a cube with smaller internal cube shapes that can twist and turn with

matching color patches, and/or (b) otherwise lose its significance as a mark.

       13.     Additionally, owing to the flooding of competing cube products into the market,

consumers do not recognize the ’974 Mark as a source indicator of puzzle cubes; that is, the ’974

Mark has come to refer to puzzle cubes themselves rather than to the source of puzzle cubes.

       14.     Therefore, Counterclaim Plaintiffs seek a judicial determination and declaration of

the respective rights and duties of the parties based on Counterclaim Plaintiffs’ contentions as set

forth in the paragraphs above. Such determination and declaration are necessary and appropriate

so that the parties may ascertain their respective rights and duties regarding the invalidity of the

’974 Mark.

       COUNTERCLAIM II – DECLARATORY JUDGMENT OF TRADEMARK
                       INVALIDITY (“’094 MARK”)

       15.     Counterclaim Plaintiffs incorporate by reference the allegations set forth in the

preceding paragraphs.

       16.     A search on Amazon.com for “puzzle cube” reveals numerous puzzle cubes for sale

consisting of a black cube with right-angled smaller internal cube shapes that can twist and turn

with matching color patches, including:

        URL                 Product Picture




                                                12
Case: 1:23-cv-01501 Document #: 46 Filed: 07/03/23 Page 13 of 18 PageID #:1451




     https://www.am

     azon.com/Giant-

     Speed-Large-

     Puzzles-

     inches/dp/B0B

     M5MQDLG/ref

     =sr_1_57?crid=

     1I2QPM2XBRS

     4B&keywords=

     puzzle+cube&qi

     d=1688152812

     &sprefix=puzzl

     e+cube%2Caps

     %2C107&sr=8-

     57




                                     13
  Case: 1:23-cv-01501 Document #: 46 Filed: 07/03/23 Page 14 of 18 PageID #:1452




         https://www.am

         azon.com/ROX

         ENDA-Warrior-

         Stickerless-

         Frosted-

         Puzzle/dp/B089

         VK6GLP/ref=sr

         _1_53?crid=1I2

         QPM2XBRS4B

         &keywords=puz

         zle+cube&qid=

         1688152965&sp

         refix=puzzle+cu

         be%2Caps%2C

         107&sr=8-53



       17.     The introduction of numerous competing cube products into the market in the past

several decades has caused the puzzle cube design depicted in the ’094 Mark to (a) become the

generic designation for puzzle cubes consisting of a cube with smaller internal cube shapes that

can twist and turn with matching color patches, and/or (b) otherwise lose its significance as a mark.

       18.     Additionally, owing to the flooding of competing cube products into the market,

consumers do not recognize the ’094 Mark as the sole source of puzzle cubes; that is, the puzzle

cube design reflected by the’094 Mark has come to refer to puzzle cubes themselves rather than to



                                                 14
  Case: 1:23-cv-01501 Document #: 46 Filed: 07/03/23 Page 15 of 18 PageID #:1453




the source of puzzle cubes.

       19.     Therefore, Counterclaim Plaintiffs seek a judicial determination and declaration of

the respective rights and duties of the parties based on Counterclaim Plaintiffs’ contentions as set

forth in the paragraphs above. Such determination and declaration are necessary and appropriate

so that the parties may ascertain their respective rights and duties regarding the invalidity of the

’094 Mark.

    COUNTERCLAIM III –DECLARATORY JUDGMENT OF TRADEMARK NON-
                     INFRINGEMENT (“’974 MARK”)

       20.     Counterclaim Plaintiffs incorporate by reference the allegations set forth in the

preceding paragraphs.

       21.     Firstly, the ’974 Mark is invalid and subject to cancellation, thereby rendering

infringement not possible as an invalid right cannot be infringed upon.

       22.     Moreover, Counterclaim Plaintiffs’ use of the ’974 Mark, if any, is excused under

the doctrine of fair use. Specifically, Counterclaim Plaintiffs’ use of the ’974 Mark, if any, was

purely descriptive of and used fairly and in good faith only to describe Counterclaim Plaintiffs’

goods. In this regard, Counterclaim Plaintiffs’ descriptive use of the ’974 Mark, if any, was

otherwise than as a mark, which is not likely to cause consumer confusion.

       23.     As a result of Spin Master asserting infringement of the ’974 Mark, there exists an

actual and justiciable controversy of sufficient immediacy and reality to warrant the issuance of a

declaratory judgment as to the non-infringement of the ’974 Mark.

       24.     Therefore, Counterclaim Plaintiffs seek a judicial determination and declaration of

the respective rights and duties of the parties based on Counterclaim Plaintiffs’ contentions as set

forth in the paragraphs above. Such determination and declaration are necessary and appropriate

so that the parties may ascertain their respective rights and duties regarding non-infringement of

                                                15
  Case: 1:23-cv-01501 Document #: 46 Filed: 07/03/23 Page 16 of 18 PageID #:1454




the ’974 Mark.

   COUNTERCLAIM IV – DECLARATORY JUDGMENT OF TRADEMARK NON-
                    INFRINGEMENT (“’094 MARK”)

       25.       Counterclaim Plaintiffs incorporate by reference the allegations set forth in the

preceding paragraphs.

       26.       Firstly, the ’094 Mark is invalid and subject to cancellation, thereby rendering

infringement not possible as an invalid right cannot be infringed upon.

       27.       Moreover, Counterclaim Plaintiffs’ use of the ’094 Mark, if any, is excused under

the doctrine of fair use. Specifically, Counterclaim Plaintiffs’ use of the ’094 Mark, if any, was

purely descriptive of and used fairly and in good faith only to describe Counterclaim Plaintiffs’

goods. In this regard, Counterclaim Plaintiffs’ descriptive use of the ’094 Mark, if any, was

otherwise than as a mark, which is not likely to cause consumer confusion.

       28.       As a result of Spin Master asserting infringement of the ’094 Mark, there exists an

actual and justiciable controversy of sufficient immediacy and reality to warrant the issuance of a

declaratory judgment as to the non-infringement of the ’094 Mark.

       29.       Therefore, Counterclaim Plaintiffs seek a judicial determination and declaration of

the respective rights and duties of the parties based on Counterclaim Plaintiffs’ contentions as set

forth in the paragraphs above. Such determination and declaration are necessary and appropriate

so that the parties may ascertain their respective rights and duties regarding non-infringement of

the ’094 Mark.

                                     PRAYER FOR RELIEF

WHEREFORE, Counterclaim Plaintiffs pray the Court for judgment as follows:




                                                 16
  Case: 1:23-cv-01501 Document #: 46 Filed: 07/03/23 Page 17 of 18 PageID #:1455




    A.      Judgment be entered in favor of Counterclaim Plaintiffs and against Spin Master on

            each and every claim of the Complaint and on each and every claim of the

            Counterclaims;

    B.      That judgment be entered declaring that Counterclaim Plaintiffs have not infringed the

            Spin Master’s Trademarks;

    C.      That judgment be entered declaring that Spin Master’s Trademarks are invalid;

    D.      That judgment be entered declaring that Spin Master is not entitled to injunctive relief,

            money damages, costs, attorneys’ fees, nor any other remedy for any alleged

            infringement by Counterclaim Plaintiffs;

    E.      A permanent injunction against Spin Master so that they are prohibited from

            misrepresenting or filing infringement claims of the Spin Master’s Trademarks against

            Counterclaim Plaintiffs with Amazon or any other marketplaces.

    F.      For an award to Counterclaim Plaintiffs of their reasonable attorneys’ fees and costs as

            permitted by law; and

    G.      Such other relief as this Court deems just and proper.

                                  DEMAND FOR JURY TRIAL

         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Counterclaim Plaintiffs

hereby demand a trial by jury on all issues that are triable of right to a jury in this action.




DATED: July 3, 2023                             Respectfully submitted,

                                                        By: /s/ Timothy T. Wang
                                                        Timothy T. Wang
                                                        Texas Bar No. 24067927

                                                  17
  Case: 1:23-cv-01501 Document #: 46 Filed: 07/03/23 Page 18 of 18 PageID #:1456




                                                    twang@nilawfirm.com
                                                    NI, WANG & MASSAND, PLLC
                                                    8140 Walnut Hill Ln., Ste. 615
                                                    Dallas, TX 75231
                                                    Tel: (972) 331-4600
                                                    Fax: (972) 314-0900

                                                    ATTORNEY FOR DEFENDANTS AND
                                                    COUNTERCLAIM PLAINTIFFS



                                CERTIFICATE OF SERVICE

       I hereby certify that on the 3rd day of July, 2023, I electronically filed the foregoing
document with the clerk of the court for the U.S. District Court, Northern District of Illinois,
Eastern Division, using the electronic case filing system of the court. The electronic case filing
system sent a “Notice of Electronic Filing” to the attorneys of record who have consented in
writing to accept this Notice as service of this document by electronic means.

                                             /s/ Timothy T. Wang
                                             Timothy T. Wang




                                               18
